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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
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UNITED STA TES OF AMERICA,                           )                          ZllZI SEP -9 P \: Lil!
                                                     )
       Plaintiff,                                    )
                                                     )
V.                                                   )      Case No .: 2:21-CR-00049-MHT-JTA
                                                     )
WILLIAM LEE HOLLADAY, III, et al. ,                  )
                                                     )
       Defendants.                                   )


  JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER FOR DISCLOSURE OF
  DOCUMENTS AND TESTIMONY WITHOUT WAIVER OF ATTORNEY-CLIENT
PRIVILEGE PURSUANT TO RULE 502(D) OF THE FEDERAL RULES OF EVIDENCE


       COME NOW Plaintiff United States of America (the "Government") and non-party Athens
City Board of Education (the "Board") and jointly petition this Honorable Court for the entry of a
Protective Order for Disclosure of Documents and Testimony Without Waiver of Attorney-Client
Privilege Pursuant to Rule 502(d) of the Federal Rules of Evidence. The Government and the
Board state as follows:

       1.      On May 27, 2021 , the Government issued a subpoena to E. Shane Black ("Black"),
the Board's attorney, calling for his production of documents and testimony as a witness for the
Government at the February 7, 2022 trial of the above-styled case.

        2.    The Board, through its undersigned counsel, notified the Government that any such
documents, as well as testimony about the same, may be covered by the Board ' s attorney-client
privilege.

         3.    Rule 502(d) of the Federal Rules of Evidence provides that "[a] federal court may
order that the privilege or protection is not waived by disclosure connected with the litigation
pending before the court - in which event the disclosure is also not a waiver in any other federal
or state proceeding."

        4.      The Board wishes to cooperate with the Government's subpoena request, and as
such, the Board and the Government have agreed that the privilege issue can be resolved by
presenting a proposed Order to the Court pursuant to Rule 502( d), which Order would provide,
among other things, that the Board may authorize these disclosures, and the disclosure and use of
the documents and related testimony in connection with the subpoena in this federal court case
that may constitute or contain privileged material will not constitute a waiver by the Board of any
privilege or protection attaching to the same.



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        5.     The proposed Order defines the "Privileged Information" to include (a) all
documents in Black's possession, if any, that are produced in response to the subpoena that the
Board contends are protected by the attorney-client privilege (the "Privileged Documents"), and
(b) all Black's statements and testimony relating to the twenty-one subjects identified in the
Subpoena, if any, within the time span of July 1, 2015 through December 31, 2018, that the Board
contends are protected by the attorney-client privilege (the "Privileged Testimony").

        6.       The proposed Order provides that the Board is the sole and exclusive holder of the
privilege with respect to the Privileged Information, and as such, the Board may authorize the
disclosure of the Privilege Information, and Black may disclose it, to the extent and in the manner
set forth in the proposed Order.

        7.      The proposed Order would provide that, in response to the subpoena, Black shall
produce the Privileged Documents to the Government, and provide the Privileged Testimony in
this federal case, for use as set forth more particularly in the proposed Order. The proposed Order
would provide that, in connection therewith, Black may also produce and discuss the Privileged
Information with the Government prior to the trial of this case. As such, the proposed Order would
explain that the Privileged Information may be disclosed to and used by the defendants and their
legal counsel in this case, whether by receiving the Privileged Information from the Government
and its disclosures, through observing it at trial, or eliciting it through cross-examination.

         8.    The proposed Order states that it shall be construed as an Order under Rule 502( d)
of the Federal Rules of Evidence ordering that privilege or protection is not waived by disclosure
connected with the litigation pending before this Court. Accordingly, as is explicitly set forth in
Rule 502(d), Black's disclosure of Privileged Information pursuant to the proposed Order, and any
use of any or all of the Privileged Information in this criminal case, shall not constitute a waiver
of any privilege or protection held by the Board, whether in this proceeding or in any other federal
or state proceeding, whatsoever.

        9.     The proposed Order further states that Black and the Board shall designate
Privileged Documents produced under the Order by marking on the documents substantially with
the following words:

"CONFIDENTIAL-FOR USEONLYIN UNITEDSTATESv. HOLLADAY, ETAL. NO. 21 - CR-
00049-MHT-JTA (M.D. ALA.) SUBJECT TO PROTECTIVE ORDER AND NON-WAIVER
ORDER UNDER F.R.E. 502(d)."

        10.     The proposed Order further provides that, in recognition of the protection of the
attorney client privilege in furtherance of the Order, any Privileged Documents presented to the
Court shall be filed under seal, and any portion of any proceeding or trial in this case relating to
the Privileged Testimony shall be sealed. Moreover, the proposed Order directs that counsel of
record shall keep all Privileged Documents or notes, records, or transcripts of the Privileged
Testimony produced or provided by Black in accordance with this Order within their exclusive
possession and control. The proposed Order directs that counsel of record shall maintain the
confidentiality of such materials and information and shall not permit unauthorized dissemination
of such materials to any person or entity other than in accordance with the uses authorized by the


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Order. The proposed Order states that counsel of record may use the Privileged Information in this
litigation to the extent permitted by the Order but are prohibited from using it in any other litigation
whatsoever.

        11.    A copy of the proposed Order is attached hereto as Exhibit A. Its terms are agreed
to by the Board and are incorporated herein as a part of this petition to the Court

        12.    The affidavit of Beverly Malone, President of the Board, attesting that she is
authorized by the Board to act on its behalf through authorizing its undersigned counsel to file this
Joint Motion, is attached hereto as Exhibit B.

        WHEREFORE, above premises considered, the undersigned respectfully jointly petition

this Honorable Court to enter the proposed Order attached hereto as Exhibit A.

                                                Respectfully submitted,




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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 8, 2021 , I served a copy of the foregoing by U.S. Mail,
postage prepaid and properly addressed, upon the following counsel of record:

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